                  Case 1:24-cv-11611-FDS                          Document 6              Filed 06/25/24           Page 1 of 1
O AO 121 (6/90)
TO:

                  Register of Copyrights                                                            REPORT ON THE
                  Copyright Office                                                          FILING OR DETERMINATION OF AN
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        G
        ✔ ACTION           G APPEAL                                   District of Massachusetts (Boston)
DOCKET NO.                      DATE FILED
      1:24-cv-11611                       6/24/2024
PLAINTIFF                              Format m/d/yyyy                            DEFENDANT
UMG Recordings, Inc., et al.                                                      Suno, Inc., et al.




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      In the above-entitled case, the following copyright(s) have been included:
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1

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3                                                                     .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order        G Judgment                                     G Yes        G No
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